Case 1:22-cv-01146-MN           Document 560    Filed 12/13/24         Page 1 of 2 PageID #: 35449




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 ARM LTD., a U.K. corporation,

                   Plaintiff,

        v.                                             C.A. No. 22-1146-MN

 QUALCOMM INC., a Delaware corporation,
 QUALCOMM TECHNOLOGIES, INC., a
 Delaware corporation, and NUVIA, INC., a
 Delaware corporation,

                   Defendants.



              ORDER GRANTING PLAINTIFF’S MOTION FOR EXEMPTION
                OF PERSONS FROM THE DISTRICT OF DELAWARE’S
               MAY 17, 2024 STANDING ORDER ON PERSONAL DEVICES


         The Court having considered Plaintiff’s Motion for Exemption of Persons from the

  District of Delaware’s May 17, 2024 Standing Order on Personal Devices (the “Motion”),

          IT IS SO ORDERED this 13th day of December 2024

         1.      The Motion is GRANTED;

         2.      For purposes of the December 13, 2024 Jury Selection, the December 13, 2024

  Courtroom Setup, and/or the December 16-20 Trial, the following persons are exempt from

  the District of Delaware’s May 17, 2024 Standing Order and shall be permitted to retain and

  use their personal electronic devices

         •       Daralyn J. Durie;
         •       Daniel P. Muino;
         •       Shaelyn K. Dawson;
         •       Scott F. Llewellyn; (collectively, “Lead Counsel”);
         •       Ethel Villegas (Paralegal);
         •       Daisy Visitacion (Paralegal);
Case 1:22-cv-01146-MN        Document 560          Filed 12/13/24   Page 2 of 2 PageID #: 35450




         •       Chris Meier (Paralegal);
         •       Thomas Lee (Trial Presenter);
         •       Jamie Laird (Trial Consultant);
         •       Spencer Collins (Client);
         •       Phillip Price (Client);
         •       Toni Qiu (Client);
         •       Ehab Youssef (Client);
         •       Rene Haas (Client);
         •       Will Abbey (Client)


         3.      Such persons listed in Paragraph 2 above shall present this Order, along with a

   valid photographic I.D., to the United States Marshals upon entry to the J. Caleb Boggs Federal

   Building and United States Courthouse.




                                                The Honorable Maryellen Noreika
                                                United States District Judge




                                                   2
